
86 B.R. 808 (1987)
In re PACOR, INC., Debtor.
PAXTON NATIONAL INSURANCE COMPANY, Plaintiff,
v.
BRITISH AMERICAN ASSOCIATES and Simkiss Agency, Inc. and Pacor, Inc., Defendants.
Misc. No. 87-0208.
United States District Court, E.D. Pennsylvania.
June 29, 1987.
Alan S. Gold, James W. Christie, Griffith &amp; Burr, P.C., Philadelphia, Pa., for plaintiff Paxton Nat. Ins. Co.
Stephen Levin, Stanley B. Edelstein, Jacoby, Donner &amp; Jacoby, P.C., Philadelphia, Pa., for defendant Pacor, Inc.


*809 ORDER
GILES, District Judge.
AND NOW, this 29th day of June, 1987, upon consideration of:
1. The Recommendation of the Honorable Bruce I. Fox that the Motion for Remand of Paxton National Insurance Company be denied;
2. Bankruptcy Judge Fox's Opinion in Support of such Recommendation;
3. The Objections of Paxton National Insurance Company to the Conclusions of Law and Recommendation of Bankruptcy Judge Bruce Fox issued on April 30, 1987;
4. Debtor Pacor, Inc.'s Answer in Opposition to such Objections; and
5. The memoranda of counsel for Paxton National Insurance Company and Pacor, Inc.,
It is hereby ORDERED that the Motion for Remand of Paxton National Insurance Company in Adversary No. 86-11296 is denied and the Order of the Bankruptcy Judge dated April 30, 1987 (72 B.R. 927) is Affirmed for the reasons set forth in his Opinion of the same date.
